                Case 23-00814-hb                  Doc 1     Filed 03/21/23 Entered 03/21/23 22:30:40                             Desc Main
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Fill in this information to identify your case:

United States Bankruptcy Court for the:

DISTRICT OF SOUTH CAROLINA

Case number (if known)                                                      Chapter      11
                                                                                                                              Check if this an
                                                                                                                              amended filing




Official Form 201
Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                                                           06/22
If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor's name and the case number (if
known). For more information, a separate document, Instructions for Bankruptcy Forms for Non-Individuals, is available.


1.   Debtor's name                Premier Medical, Inc.

2.   All other names debtor
     used in the last 8 years
     Include any assumed
     names, trade names and
     doing business as names

3.   Debtor's federal
     Employer Identification      XX-XXXXXXX
     Number (EIN)


4.   Debtor's address             Principal place of business                                     Mailing address, if different from principal place of
                                                                                                  business

                                  6000 A Pelham Road
                                  Greenville, SC 29601
                                  Number, Street, City, State & ZIP Code                          P.O. Box, Number, Street, City, State & ZIP Code

                                  Greenville                                                      Location of principal assets, if different from principal
                                  County                                                          place of business

                                                                                                  Number, Street, City, State & ZIP Code


5.   Debtor's website (URL)


6.   Type of debtor                   Corporation (including Limited Liability Company (LLC) and Limited Liability Partnership (LLP))
                                      Partnership (excluding LLP)
                                      Other. Specify:




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Debtor    Premier Medical, Inc.                                                                         Case number (if known)
          Name



7.   Describe debtor's business        A. Check one:
                                          Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                          Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                          Railroad (as defined in 11 U.S.C. § 101(44))
                                          Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                          Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                          Clearing Bank (as defined in 11 U.S.C. § 781(3))

                                          None of the above

                                       B. Check all that apply
                                          Tax-exempt entity (as described in 26 U.S.C. §501)
                                          Investment company, including hedge fund or pooled investment vehicle (as defined in 15 U.S.C. §80a-3)
                                          Investment advisor (as defined in 15 U.S.C. §80b-2(a)(11))

                                       C. NAICS (North American Industry Classification System) 4-digit code that best describes debtor. See
                                         http://www.uscourts.gov/four-digit-national-association-naics-codes.



8.   Under which chapter of the        Check one:
     Bankruptcy Code is the
                                          Chapter 7
     debtor filing?
     A debtor who is a “small             Chapter 9
     business debtor” must check          Chapter 11. Check all that apply:
     the first sub-box. A debtor as
     defined in § 1182(1) who                                     The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D), and its aggregate
     elects to proceed under                                      noncontingent liquidated debts (excluding debts owed to insiders or affiliates) are less than
     subchapter V of chapter 11                                   $3,024,725. If this sub-box is selected, attach the most recent balance sheet, statement of
     (whether or not the debtor is a                              operations, cash-flow statement, and federal income tax return or if any of these documents do not
     “small business debtor”) must                                exist, follow the procedure in 11 U.S.C. § 1116(1)(B).
     check the second sub-box.
                                                                  The debtor is a debtor as defined in 11 U.S.C. § 1182(1), its aggregate noncontingent liquidated
                                                                  debts (excluding debts owed to insiders or affiliates) are less than $7,500,000, and it chooses to
                                                                  proceed under Subchapter V of Chapter 11. If this sub-box is selected, attach the most recent
                                                                  balance sheet, statement of operations, cash-flow statement, and federal income tax return, or if
                                                                  any of these documents do not exist, follow the procedure in 11 U.S.C. § 1116(1)(B).
                                                                  A plan is being filed with this petition.
                                                                  Acceptances of the plan were solicited prepetition from one or more classes of creditors, in
                                                                  accordance with 11 U.S.C. § 1126(b).
                                                                  The debtor is required to file periodic reports (for example, 10K and 10Q) with the Securities and
                                                                  Exchange Commission according to § 13 or 15(d) of the Securities Exchange Act of 1934. File the
                                                                  Attachment to Voluntary Petition for Non-Individuals Filing for Bankruptcy under Chapter 11
                                                                  (Official Form 201A) with this form.
                                                                  The debtor is a shell company as defined in the Securities Exchange Act of 1934 Rule 12b-2.
                                          Chapter 12

9.   Were prior bankruptcy                No.
     cases filed by or against
     the debtor within the last 8         Yes.
     years?
     If more than 2 cases, attach a
     separate list.                              District                                  When                                  Case number
                                                 District                                  When                                  Case number




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Debtor    Premier Medical, Inc.                                                                           Case number (if known)
          Name

10. Are any bankruptcy cases                 No
    pending or being filed by a
    business partner or an                   Yes.
    affiliate of the debtor?




     List all cases. If more than 1,
     attach a separate list                          Debtor                                                                    Relationship
                                                     District                                 When                             Case number, if known


11. Why is the case filed in           Check all that apply:
    this district?
                                                Debtor has had its domicile, principal place of business, or principal assets in this district for 180 days immediately
                                                preceding the date of this petition or for a longer part of such 180 days than in any other district.
                                                A bankruptcy case concerning debtor's affiliate, general partner, or partnership is pending in this district.

12. Does the debtor own or                 No
    have possession of any
    real property or personal                       Answer below for each property that needs immediate attention. Attach additional sheets if needed.
                                           Yes.
    property that needs
    immediate attention?                            Why does the property need immediate attention? (Check all that apply.)
                                                       It poses or is alleged to pose a threat of imminent and identifiable hazard to public health or safety.
                                                      What is the hazard?
                                                       It needs to be physically secured or protected from the weather.
                                                       It includes perishable goods or assets that could quickly deteriorate or lose value without attention (for example,
                                                      livestock, seasonal goods, meat, dairy, produce, or securities-related assets or other options).
                                                       Other
                                                    Where is the property?
                                                                                     Number, Street, City, State & ZIP Code
                                                    Is the property insured?
                                                       No
                                                       Yes.     Insurance agency
                                                                Contact name
                                                                Phone



          Statistical and administrative information

13. Debtor's estimation of             .         Check one:
    available funds
                                                    Funds will be available for distribution to unsecured creditors.
                                                    After any administrative expenses are paid, no funds will be available to unsecured creditors.

14. Estimated number of                    1-49                                             1,000-5,000                                 25,001-50,000
    creditors                              50-99                                            5001-10,000                                 50,001-100,000
                                           100-199                                          10,001-25,000                               More than100,000
                                           200-999

15. Estimated Assets                       $0 - $50,000                                     $1,000,001 - $10 million                    $500,000,001 - $1 billion
                                           $50,001 - $100,000                               $10,000,001 - $50 million                   $1,000,000,001 - $10 billion
                                           $100,001 - $500,000                              $50,000,001 - $100 million                  $10,000,000,001 - $50 billion
                                           $500,001 - $1 million                            $100,000,001 - $500 million                 More than $50 billion


16. Estimated liabilities                  $0 - $50,000                                     $1,000,001 - $10 million                    $500,000,001 - $1 billion

Official Form 201                                  Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                     page 3
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Debtor   Premier Medical, Inc.                                                          Case number (if known)
         Name

                                 $50,001 - $100,000                         $10,000,001 - $50 million            $1,000,000,001 - $10 billion
                                 $100,001 - $500,000                        $50,000,001 - $100 million           $10,000,000,001 - $50 billion
                                 $500,001 - $1 million                      $100,000,001 - $500 million          More than $50 billion




Official Form 201                      Voluntary Petition for Non-Individuals Filing for Bankruptcy                                       page 4
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Debtor    Premier Medical, Inc.                                                                    Case number (if known)
          Name



          Request for Relief, Declaration, and Signatures

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement in connection with a bankruptcy case can result in fines up to $500,000 or
           imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.

17. Declaration and signature
    of authorized                The debtor requests relief in accordance with the chapter of title 11, United States Code, specified in this petition.
    representative of debtor
                                 I have been authorized to file this petition on behalf of the debtor.

                                 I have examined the information in this petition and have a reasonable belief that the information is true and correct.

                                 I declare under penalty of perjury that the foregoing is true and correct.

                                 Executed on      March 21, 2023
                                                  MM / DD / YYYY


                             X   /s/ Kevin Murdock                                                        Kevin Murdock
                                 Signature of authorized representative of debtor                         Printed name

                                 Title   Sole Owner




18. Signature of attorney    X   /s/ Robert H. Cooper                                                      Date March 21, 2023
                                 Signature of attorney for debtor                                               MM / DD / YYYY

                                 Robert H. Cooper
                                 Printed name

                                 The Cooper Law Firm
                                 Firm name

                                 150 Milestone Way, Ste B
                                 Greenville, SC 29615
                                 Number, Street, City, State & ZIP Code


                                 Contact phone     864-271-9911                  Email address      thecooperlawfirm@thecooperlawfirm.com

                                 05670 SC
                                 Bar number and State




Official Form 201                         Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                     page 5
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                                       United States Bankruptcy Court
                                             District of South Carolina
 In re   Premier Medical, Inc.                                                      Case No.
                                                         Debtor(s)                  Chapter    11



         STATEMENT REGARDING AUTHORITY TO SIGN AND FILE PETITION
        I, Kevin Murdock, declare under penalty of perjury that I am the Sole Owner of Premier Medical, Inc., and
that the following is a true and correct copy of the resolutions adopted by the Board of Directors of said
corporation at a special meeting duly called and held on the 21st day of March, 2023.

      "Whereas, it is in the best interest of this corporation to file a voluntary petition in the United States
Bankruptcy Court pursuant to Chapter 11 of Title 11 of the United States Code;

        Be It Therefore Resolved, that Kevin Murdock, Sole Owner of this Corporation, is authorized and directed
to execute and deliver all documents necessary to perfect the filing of a chapter 11 voluntary bankruptcy case on
behalf of the corporation; and

       Be It Further Resolved, that Kevin Murdock, Sole Owner of this Corporation is authorized and directed to
appear in all bankruptcy proceedings on behalf of the corporation, and to otherwise do and perform all acts and
deeds and to execute and deliver all necessary documents on behalf of the corporation in connection with such
bankruptcy case, and

        Be It Further Resolved, that Kevin Murdock, Sole Owner of this Corporation is authorized and directed to
employ Robert H. Cooper DCID #5670, attorney and the law firm of The Cooper Law Firm to represent the corporation
in such bankruptcy case."

Date     March 21, 2023                                Signed   /s/ Kevin Murdock
                                                                Kevin Murdock
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                                         Resolution of Board of Directors
                                                        of
                                                 Premier Medical, Inc.




      Whereas, it is in the best interest of this corporation to file a voluntary petition in the the United States
Bankruptcy Court pursuant to Chapter 11 of Title 11 of the United States Code;

        Be It Therefore Resolved, that Kevin Murdock, Sole Owner of this Corporation, is authorized and directed
to execute and deliver all documents necessary to perfect the filing of a chapter 11 voluntary bankruptcy case on
behalf of the corporation; and

       Be It Further Resolved, that Kevin Murdock, Sole Owner of this Corporation is authorized and directed to
appear in all bankruptcy proceedings on behalf of the corporation, and to otherwise do and perform all acts and
deeds and to execute and deliver all necessary documents on behalf of the corporation in connection with such
bankruptcy case, and

        Be It Further Resolved, that Kevin Murdock, Sole Owner of this Corporation is authorized and directed to
employ Robert H. Cooper DCID #5670, attorney and the law firm of The Cooper Law Firm to represent the corporation
in such bankruptcy case.


Date   March 21, 2023                                  Signed    /s/ Kevin Murdock
                                                                 Kevin Murdock
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 Fill in this information to identify the case:
 Debtor name Premier Medical, Inc.
 United States Bankruptcy Court for the: DISTRICT OF SOUTH CAROLINA                                                                          Check if this is an

 Case number (if known):                                                                                                                     amended filing




Official Form 204
Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and
Are Not Insiders                                                                           12/15

A list of creditors holding the 20 largest unsecured claims must be filed in a Chapter 11 or Chapter 9 case. Include claims which the
debtor disputes. Do not include claims by any person or entity who is an insider, as defined in 11 U.S.C. § 101(31). Also, do not
include claims by secured creditors, unless the unsecured claim resulting from inadequate collateral value places the creditor
among the holders of the 20 largest unsecured claims.

 Name of creditor and      Name, telephone number Nature of claim               Indicate if claim   Amount of claim
 complete mailing address, and email address of   (for example, trade            is contingent,     If the claim is fully unsecured, fill in only unsecured claim amount. If
 including zip code        creditor contact       debts, bank loans,            unliquidated, or    claim is partially secured, fill in total claim amount and deduction for
                                                  professional services,            disputed        value of collateral or setoff to calculate unsecured claim.
                                                  and government                                    Total claim, if            Deduction for value        Unsecured claim
                                                  contracts)                                        partially secured          of collateral or setoff
 CloudFund, LLC                                      Merchant Loan                                                                                             $270,000.00
 400 Rekka Blvd, Ste
 165-101
 Suffern, NY 10901
 Dash Courier                                                                                                                                                    $73,362.00
 Service
 PO Box 11049
 Charlotte, NC 28220
 Diversified Property                                                                                                                                          $129,987.00
 Ventures, LLC
 c/o Cushman &
 Wakefield
 PO Box 5160
 Glen Allen, VA
 23058
 Experian Health Inc                                                                                                                                           $128,316.00
 PO Box 846133
 Los Angeles, CA
 90084
 Fisher Healthcare                                                                                                                                               $73,433.00
 Attn 001686
 Atlanta, GA 30384
 Greenville County                                                                                                                                             $214,424.00
 Tax Assessor
 301 University
 Ridge, Ste 700
 Greenville, SC 29601
 Illumina Inc                                                                                                                                                  $333,444.00
 12864 Collection
 Center Dr
 Chicago, IL 60693
 Jant Pharmacal                                                                                                                                                $107,773.00
 Corp
 16530 Ventura Blvd
 #512
 Encino, CA 91436



Official form 204                       Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured claims                                 page 1
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 Debtor    Premier Medical, Inc.                                                                     Case number (if known)
           Name

 Name of creditor and      Name, telephone number Nature of claim               Indicate if claim   Amount of claim
 complete mailing address, and email address of   (for example, trade            is contingent,     If the claim is fully unsecured, fill in only unsecured claim amount. If
 including zip code        creditor contact       debts, bank loans,            unliquidated, or    claim is partially secured, fill in total claim amount and deduction for
                                                  professional services,            disputed        value of collateral or setoff to calculate unsecured claim.
                                                  and government                                    Total claim, if            Deduction for value        Unsecured claim
                                                  contracts)                                        partially secured          of collateral or setoff
 Kudzu Staffing Inc                                                                                                                                            $105,199.00
 PO Box 51627
 Powdersville, SC
 29673
 Lab Logistics LLC                                                                                                                                             $112,784.00
 PO Box 84938
 Chicago, IL 60689
 Legacy Capital 26,                                  Merchant Loan                                                                                           $1,167,250.00
 LLC
 290 Harbor Drive
 Stamford, CT 06902
 Life Technologies                                                                                                                                             $204,586.00
 Corp
 12088 Collection
 Center Dr
 Chicago, IL 60693
 Myhommelabs                                                                                                                                                     $90,000.00
 6366 College Blvd
 Overland Park, KS
 66211
 Pulse Consulting                                                                                                                                              $110,000.00
 2400 Veterans Mem
 Blvd 510
 Kenner, LA 70062
 Quest Diagnostics                                                                                                                                             $151,339.00
 Atl
 PO Box 74736
 Atlanta, GA 30374
 Radla Capital, LLC                                  Merchant Loan                                                                                             $329,868.00
 161-10A Union
 Street 2nd Floor
 Flushing, NY 11366
 Roche Diagnostics                                   ?????                                                                                                     $120,000.00
 Corp
 Mail Code 5508
 Charlotte, NC 28272
 UPS                                                                                                                                                           $124,793.00
 PO Box 7247-0244
 Philadelphia, PA
 19170
 Vessell Medical                                                                                                                                             $6,923,182.00
 6000 A Pelham Road
 Greenville, SC 29615
 Vox Funding SPV1,                                   Merchant Loan                                                                                           $1,456,000.00
 LLC
 14 E 44th St 4th
 Floor
 New York, NY 10017




Official form 204                       Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured claims                                 page 2
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B2030 (Form 2030) (12/15)
                                                        United States Bankruptcy Court
                                                               District of South Carolina
 In re       Premier Medical, Inc.                                                                            Case No.
                                                                              Debtor(s)                       Chapter       11

                        DISCLOSURE OF COMPENSATION OF ATTORNEY FOR DEBTOR(S)
1.   Pursuant to 11 U .S.C. § 329(a) and Fed. Bankr. P. 2016(b), I certify that I am the attorney for the above named debtor(s) and that
     compensation paid to me within one year before the filing of the petition in bankruptcy, or agreed to be paid to me, for services rendered or to
     be rendered on behalf of the debtor(s) in contemplation of or in connection with the bankruptcy case is as follows:
             For legal services, I have agreed to accept                                                  $                 65,000.00
             Prior to the filing of this statement I have received                                        $                 65,000.00
             Balance Due                                                                                  $                       0.00

2.   The source of the compensation paid to me was:

                  Debtor             Other (specify):      Debtor has paid $65,000 in attorneys fees as a retainer, $29,646.00 of which
                                                           were earned prepetition. Therefore, $35,354.00 of the retainer is to be billed for
                                                           future services. Additional fees will be charged and billed at $295 per hour.

3.   The source of compensation to be paid to me is:

                  Debtor             Other (specify):

4.          I have not agreed to share the above-disclosed compensation with any other person unless they are members and associates of my law firm.

            I have agreed to share the above-disclosed compensation with a person or persons who are not members or associates of my law firm. A
            copy of the agreement, together with a list of the names of the people sharing in the compensation is attached.

5.       In return for the above-disclosed fee, I have agreed to render legal service for all aspects of the bankruptcy case, including:

     a.     Analysis of the debtor's financial situation, and rendering advice to the debtor in determining whether to file a petition in bankruptcy;
     b.     Preparation and filing of any petition, schedules, statement of affairs and plan which may be required;
     c.     Representation of the debtor at the meeting of creditors and confirmation hearing, and any adjourned hearings thereof;
     d.     [Other provisions as needed]
                 Negotiations with secured creditors to reduce to market value; exemption planning; preparation and filing of
                 reaffirmation agreements and applications as needed; preparation and filing of motions pursuant to 11 USC
                 522(f)(2)(A) for avoidance of liens on household goods.

6.   By agreement with the debtor(s), the above-disclosed fee does not include the following service:
             Representation of the debtors in any dischargeability actions, judicial lien avoidances, relief from stay actions or
             any other adversary proceeding.
                                                                     CERTIFICATION
      I certify that the foregoing is a complete statement of any agreement or arrangement for payment to me for representation of the debtor(s) in
this bankruptcy proceeding.

     March 21, 2023                                                           /s/ Robert H. Cooper
     Date                                                                     Robert H. Cooper
                                                                              Signature of Attorney
                                                                              The Cooper Law Firm
                                                                              150 Milestone Way, Ste B
                                                                              Greenville, SC 29615
                                                                              864-271-9911 Fax: 864-232-5236
                                                                              thecooperlawfirm@thecooperlawfirm.com
                                                                              Name of law firm
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                                     LOCAL OFFICIAL FORM 1007-1(b) TO SC LBR 1007-1

                                              United States Bankruptcy Court
                                                     District of South Carolina
 In re   Premier Medical, Inc.                                                                Case No.
                                                                   Debtor(s)                  Chapter      11


                               CERTIFICATION VERIFYING CREDITOR MATRIX
         The above named debtor, or attorney for the debtor if applicable, hereby certifies pursuant to South Carolina Local
Bankruptcy Rule 1007-1 that the master mailing list of creditors submitted either on computer diskette, electronically filed via
CM/ECF, or conventionally filed in a typed hard copy scannable format which has been compared to, and contains identical
information to, the debtor's schedules, statements and lists which are being filed at this time or as they currently exist in draft form.

         Master mailing list of creditors submitted via:

                  (a)            computer diskette

                  (b)           scannable hard copy
                  (number of sheets submitted       )

                  (c)      X   electronic version filed via CM/ECF




Date:    March 21, 2023                                /s/ Kevin Murdock
                                                       Kevin Murdock/Sole Owner
                                                       Signer/Title

Date: March 21, 2023                                   /s/ Robert H. Cooper
                                                       Signature of Attorney
                                                       Robert H. Cooper
                                                       The Cooper Law Firm
                                                       150 Milestone Way, Ste B
                                                       Greenville, SC 29615
                                                       864-271-9911 Fax: 864-232-5236
                                                       Typed/Printed Name/Address/Telephone

                                                       05670 SC
                                                       District Court I.D. Number
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                        14 SOUTH MAIN LLC
                        14 S MAIN ST 3RD FLOOR
                        GREENVILLE SC 29601


                        A.G. ADJUSTMENTS, LTD.
                        740 WALT WHITMAN ROAD
                        MELVILLE NY 11747


                        ACUMEN IT
                        3620 PELHAM ROAD
                        GREENVILLE SC 29615


                        ADAMS AND REESE LLP
                        DEPT 5208
                        BIRMINGHAM AL 35287


                        ADITXT
                        737 N 5TH ST
                        RICHMOND VA 23219


                        ADL HEALTH
                        14220 NORTHBROOK DRIVE STE 600
                        SAN ANTONIO TX 78232


                        AGILENT TECHNOLOGIES
                        4187 COLLECTIONS CENTER DR
                        CHICAGO IL 60693


                        AIR SCIENCE LLC
                        120 6TH ST
                        FORT MYERS FL 33907


                        AMERICAN LABORATORY SOLUTIONS
                        500 BUCKSLEY LANE
                        DANIELS ISLAND SC 29492


                        AMETEK POWERVAR
                        32806 COLLECTIIN CENTER DR
                        CHICAGO IL 60693


                        AP PROFESSIONAL SECURITY LLC
                        300 PETTIGRU ST STE 20.
                        GREENVILLE SC 29601
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                    APRIL JULIAN
                    176 PEARSON RD
                    BELTON SC 29627


                    ARKSTONE
                    135 ROCKAWAY TURNPIKE STE 111
                    LAWRENCE NY 11559


                    ASSURANCE LAB CONSULTING
                    2868 ACTION RD STE 207
                    BIRMINGHAM AL 35243


                    AVIOQ INC
                    104 T.W. ALEXANDER DR
                    RESEARCH TRIANGLE PA NC 27709


                    BAEBIES INC
                    PO BOX 14403
                    DURHAM NC 27709


                    BARNEY MCKENNA & OLMSTEAD
                    43 SOUTH 100 EAST
                    SAINT GEORGE UT 84770


                    BECKMAN COULTER
                    DEPT CH10164
                    PALATINE IL 60055


                    BIOMEDICAL REFRIGERATION SERVICES
                    2680 SOUTH LAKE DR
                    LEXINGTON SC 29073


                    BIOPURE ENVIRONMENTAL SERVICE
                    655H FAIRVIEW ROAD BOX 333
                    SIMPSONVILLE SC 29680


                    BIOSAFE SUPPLIES LLC
                    9436 SOUTHRIDGE PARK COURT
                    ORLANDO FL 32819


                    BORIS YANKOVICH
                    415 OCEAN VIEW AVE FL 3
                    BROOKLYN NY 11235
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                    C2CRESOURCES
                    1455 LINCOLN PKWY E STE 550
                    ATLANTA GA 30346


                    CARDMEMBER SERVICES
                    PO BOX 790408
                    SAINT LOUIS MO 63179


                    CAROLINA SHRED
                    1682 KATY LANE
                    FORT MILL SC 29708


                    CHANCE CAMPBELL
                    481 GARLINGTON ROAD SUITE A
                    GREENVILLE SC 29615


                    CHERNOFF NEWMAN
                    1411 GERVAIS ST
                    COLUMBIA SC 29201


                    CITY OF GREENVILLE
                    PARKING ENFORCEMENT
                    GREENVILLE SC 29609


                    CLINICAL LAB SALES TRAINING LLC
                    10751 FOLKESTONE WAY
                    WOODSTOCK MD 21163


                    CLOUDFUND, LLC
                    400 REKKA BLVD, STE 165-101
                    SUFFERN NY 10901


                    CLSI
                    PO BOX 645766
                    PITTSBURGH PA 15264


                    COMMIT SERVICES INC
                    244 5TH AVE STE 1218
                    NEW YORK NY 10001


                    COMPLIANCELINE LLC
                    8615 CLIFF CAMERON DR STE 290
                    CHARLOTTE NC 28269
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                    CPT MEDICAL, INC.
                    6000A PELHAM ROAD
                    GREENVILLE SC 29615


                    CT CORPORATION
                    PO BOX 4349
                    CAROL STREAM IL 60197


                    DASH COURIER SERVICE
                    PO BOX 11049
                    CHARLOTTE NC 28220


                    DATA MEDIA ASSOCIATES LLC
                    PO BOX 1052
                    COLUMBUS GA 31902


                    DIAZYME LABORATORIES
                    PO BOX 392165
                    PITTSBURGH PA 15251


                    DIVERSIFIED MEDICAL HEALTHCARE, INC.
                    6000A PELHAM ROAD
                    GREENVILLE SC 29615


                    DIVERSIFIED PROPERTIES 2, LLC
                    6000A PELHAM ROAD
                    GREENVILLE SC 29615


                    DIVERSIFIED PROPERTY VENTURES, LLC
                    C/O CUSHMAN & WAKEFIELD
                    PO BOX 5160
                    GLEN ALLEN VA 23058


                    DIVERSIFIED PROPERTY VENTURES, LLC
                    6000A PELHAM ROAD
                    GREENVILLE SC 29615


                    DJO LLC
                    PO BOX 650777
                    DALLAS TX 75265


                    DNA GENOTEK
                    3000 500 PALLADIUM DR
                    OTTAWA ON K2C 3H4
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                    DPX LABS LLC
                    19 TECHNOLOGY CIRCLE
                    COLUMBIA SC 29203


                    DRUG TESTING FOR LESS
                    1887 MCFARLAND PARKWAY
                    ALPHARETTA GA 30005


                    DUFFY & YOUNG LLC
                    96 BROAD STREET
                    CHARLESTON SC 29401


                    ECLINICALWORKS
                    PO BOX 847950
                    BOSTON MA 02284


                    ELAN CREDIT SERVICES
                    PO BOX 790408
                    SAINT LOUIS MO 63179


                    EMDS
                    PO BOX 679493
                    DALLAS TX 75267


                    ENVIRONMENTAL SAFETY PROFESSIONALS
                    7419 KNIGHTDALE BLVD STE 115
                    KNIGHTDALE NC 27545


                    EUROIMMUN US INC
                    1 BLOOMFIELD AVE
                    MOUNTAIN LAKES NJ 07046


                    EVOQUA WATER TECHNOLOGIES LLC
                    4450 TOWNSHIP LINE ROAD
                    SKIPPACK PA 19474


                    EXPERIAN HEALTH INC
                    PO BOX 846133
                    LOS ANGELES CA 90084


                    FEDEX
                    PO BOX 371461
                    PITTSBURGH PA 15250
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                    FIRST CAROLINA HOLDINGS, LLC
                    4113 E. NORTH STREET
                    GREENVILLE SC 29615


                    FISHER HEALTHCARE
                    ATTN 001686
                    ATLANTA GA 30384


                    FRANK VELOCCI
                    FAEGREDRINKER
                    1177 AVENUE OF THE AMERICAS, 41ST FLOOR
                    NEW YORK NY 10036


                    GENESEE SCIENTIFIC CORP
                    900 VERNON WAY
                    EL CAJON CA 92020


                    GLAST, PHILLIPS & MURRAY
                    14801 QUORUM DRIVE SUITE 500
                    DALLAS TX 75254


                    GREENBERG, GRANT & RICHARDS
                    5858 WESTHEIMER ROAD STE 500
                    HOUSTON TX 77057


                    GREENVILLE COUNTY TAX ASSESSOR
                    301 UNIVERSITY RIDGE, STE 700
                    GREENVILLE SC 29601


                    GREENVILLE MEDICAL SUPPLY
                    3025 WILDRIDGE
                    MASSILLON OH 44646


                    GREENVILLE WATER SYSTEM
                    PO BOX 687
                    GREENVILLE SC 29602


                    GREGORY CRAPANZANO
                    200 SOUTH 10TH STREET STE 1600
                    RICHMOND VA 23219


                    GREINER BIO-ONE
                    4238 CAPITAL DRIVE
                    MONROE NC 28110
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                    GS1 US INC
                    DEPT 781271
                    DETROIT MI 48278


                    HAYNESWORTH SINKLER BOYD
                    1201 MAIN STREET22ND FLOOR
                    COLUMBIA SC 29201


                    HILLARY MCGEE
                    148 GOLDEN POND DR
                    LEXINGTON SC 29073


                    HOFFMAN MECHANICAL SOLUTIONS
                    PO BOX 77319
                    GREENSBORO NC 27417


                    HOLDER, PADGETT, LITTLEJOHN & PRICKETT
                    800 E. NORTH STREET
                    GREENVILLE SC 29601


                    HUNTINGTON TECHNOLOGY FINANCE
                    22885 FRANKLIN ROAD
                    BLOOMFIELD HILLS MI 48303


                    HYCOR BIOMEDICAL
                    PO BOX 51899
                    LOS ANGELES CA 90051


                    ILLUMINA INC
                    12864 COLLECTION CENTER DR
                    CHICAGO IL 60693


                    INTEGRATED DNA TECHNOLOGIES
                    PO BOX 74007330
                    CHICAGO IL 60674


                    INTEGRATED MICRO CHROMATOGRAPHY SYS
                    110 CENTRUM DR
                    IRMO SC 29063


                    INTERNAL MED PHYSICIANS OF ALLIANCE
                    1207 WEST STATE ST STE N
                    ALLIANCE OH 44601
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                    INTERNAL MED PHYSICIANS OF MINERVA
                    1168 ALLIANCE RD NW
                    MINERVA OH 44657


                    INTERNAL REVENUE SERVICE
                    CENTRALIZED INSOLVENCY OPERATION
                    PO BOX 7346
                    PHILADELPHIA PA 19101-7346


                    INTUITIVE HEALTH LLC
                    104 AVALON COURT
                    CHAPIN SC 29036


                    IRS MDP 39
                    1835 ASSEMBLY ST, RM 469
                    COLUMBIA SC 29201


                    IVANTI
                    DEPT 0352
                    DALLAS TX 75312


                    J.R. KREBS
                    2123 9TH STREET, SUITE 110
                    TUSCALOOSA AL 35401


                    JANT PHARMACAL CORP
                    16530 VENTURA BLVD #512
                    ENCINO CA 91436


                    JONATHAN SCHULZ
                    BRADLEY
                    214 N TRYON ST STE 3700
                    CHARLOTTE NC 28202


                    KELLY HART
                    201 MAIN STREET, SUITE 2500
                    FORT WORTH TX 76102


                    KEVIN MURDOCK
                    118 JAMES ST
                    GREENVILLE SC 29609


                    KUDZU STAFFING INC
                    PO BOX 51627
                    POWDERSVILLE SC 29673
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                    LAB LOGISTICS LLC
                    PO BOX 84938
                    CHICAGO IL 60689


                    LABTECH DIAGNOSTICS
                    PO BOX 825893
                    PHILADELPHIA PA 19182


                    LEAF CAPITAL
                    PO BOX 5066
                    HARTFORD CT 06102


                    LEGACY CAPITAL 26, LLC
                    290 HARBOR DRIVE
                    STAMFORD CT 06902


                    LGC CLINICAL DIAGNOSTICS INC
                    DEPT CH 16362
                    PALATINE IL 60055


                    LIFE TECHNOLOGIES CORP
                    12088 COLLECTION CENTER DR
                    CHICAGO IL 60693


                    LIGHTHOUSE LAB SERVICES
                    1337 HUNDRED OAKS DR
                    CHARLOTTE NC 28217


                    LITTLER
                    110 E COURT ST SUITE 201
                    GREENVILLE SC 29601


                    LONGHORN VACCINES AND DIAGNOSTICS
                    9110 BOOTHBAY COURT
                    WILMINGTON NC 28411


                    LUMINEX CORP
                    PO BOX 844222
                    DALLAS TX 75284


                    LYNN PINK HURST & SCHWEGMANN
                    2100 ROSS AVE STE 2700
                    DALLAS TX 75201
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                    MARSHALL SCIENTIFIC
                    2 ARNOLD CIRCLE
                    CAMBRIDGE MA 02139


                    MCKESSON MEDICAL SURGICAL
                    PO BOX 936279
                    ATLANTA GA 31193


                    MEDCARE MSO
                    1000 CORDOVA PLACE STE 206
                    SANTA FE NM 87505


                    MEDCHAIN SUPPLY
                    PO BOX 842818
                    BOSTON MA 02284


                    MEDICAL PRACTICE CONCEPTS
                    330 JIMMY JOHNSTON ROAD
                    GREENEVILLE TN 37743


                    MEDLINE INDUSTRIES INC
                    DEPT CH 14400
                    PALATINE IL 60055


                    MEDWASTE SERVICES
                    1682 KATY LANE
                    FORT MILL SC 29708


                    MICROSOFT MSDN
                    PO BOX 848529
                    DALLAS TX 75284


                    MISSISSIPPI BIOMEDICAL
                    201 NORTH LANE DRIVE
                    TUPELO MS 38801


                    MYHOMMELABS
                    6366 COLLEGE BLVD
                    OVERLAND PARK KS 66211


                    NATIONAL JEWISH HEALTH- ADX
                    1400 JACKSON STREET M011
                    DENVER CO 80206
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                    NELSON MULLINS RILEY ET AL
                    PO BOX 11009
                    COLUMBIA SC 29211


                    NFS LEASING
                    900 CUMMINGS CENTER STE 226U
                    BEVERLY MA 01915


                    ONGEN, INC.
                    6000A PELHAM ROAD
                    GREENVILLE SC 29615


                    OPTIWISE
                    8964 RISING MIST WAY
                    ROSEVILLE CA 95747


                    PANGEA LABORATORY
                    14762 BENTLEY CIRCLE
                    TUSTIN CA 92780


                    PATIA EUROPE S.L.
                    SAN SEBASTIAN PR 00685



                    PAVEA LLC
                    2329 PORTER STREET NW
                    WASHINGTON DC 20008


                    PEAK SCIENTIFIC
                    19 STERLING ROAD STE 1
                    NORTH BILLERICA MA 01862


                    PEARL PATHWAYS
                    29 E MCCARTY ST STE 100
                    INDIANAPOLIS IN 46225


                    PERKINELMER HEALTH SCIENCES INC
                    710 BRIDGEPORT AVE
                    SHELTON CT 06484


                    PHENOMENEX
                    PO BOX 749397
                    LOS ANGELES CA 90074
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                    PIEDMONT NATURAL GAS
                    PO BOX 1246
                    CHARLOTTE NC 28201


                    PLUS INC
                    PO BOX 5643
                    GREENVILLE SC 29606


                    PULSE CONSULTING
                    2400 VETERANS MEM BLVD 510
                    KENNER LA 70062


                    QUEST DIAGNOSTICS ATL
                    PO BOX 74736
                    ATLANTA GA 30374


                    RADLA CAPITAL, LLC
                    161-10A UNION STREET 2ND FLOOR
                    FLUSHING NY 11366


                    RAININ
                    PO BOX 13505
                    NEWARK NJ 07188


                    RANDOX LABORTORIES US LTD
                    515 INDUSTRIAL BLVD
                    KEARNEYSVILLE WV 25430


                    REBECCA RITZ
                    7934 WNC 10 HWY
                    VALE NC 28168


                    REGENCY FINANCE, LLC
                    111 PETTIGRU STREET
                    GREENVILLE SC 29601


                    RICHARD T. AVIS & ASSOCIATES
                    5500 PEARL ST
                    ROSEMONT IL 60018


                    ROBINSON BRADSHAW
                    202 E. MAIN ST.
                    ROCK HILL SC 29730
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                    ROCHE DIAGNOSTICS CORP
                    MAIL CODE 5508
                    CHARLOTTE NC 28272


                    ROE CASSIDY COATES, & PRICE , PA
                    PO BOX 10529
                    GREENVILLE SC 29603


                    SC DEPT OF REVENUE
                    PO BOX 12265
                    COLUMBIA SC 29211


                    SCOTT ROBERTS
                    1111 S FORK DR
                    SEVIERVILLE TN 37862


                    SEGRA
                    PO BOX 631140
                    CINCINNATI OH 45263


                    SELECT LABS SC
                    PO BOX 13030
                    GREENSBORO NC 27415


                    SENDGRID
                    1801 CALIFORNIA ST, STE 500
                    DENVER CO 80202


                    SETHI LABORATORIES LLC
                    4101 ROSS AVE STE 100
                    DALLAS TX 75204


                    SHRED AMERICA
                    1682 KATY LANE
                    FORT MILL SC 29708


                    SITELABS LLC
                    10131 CLEMSON BLVD
                    SENECA SC 29678


                    SPEAK STRATEGIC
                    PO BOX 1431
                    JOHNS ISLAND SC 29457
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                    SPECTRUM BUSINESS
                    PO BOX 742614
                    CINCINNATI OH 45274


                    STAPLES BUSINESS ADVANTAGE
                    PO BOX 105748
                    ATLANTA GA 30348


                    STRECK LABS
                    PO BOX 45625
                    OMAHA NE 68145


                    SUNBELT RENTALS
                    PO BOX 409211
                    ATLANTA GA 30384


                    TECAN SP INC
                    PO BOX 846756
                    LOS ANGELES CA 90084


                    TECAN US
                    PO BOX 602740
                    CHARLOTTE NC 28260


                    TFORCE FREIGHT
                    PO BOX 650690
                    DALLAS TX 75265


                    THE HENDRICKS FIRM LLC
                    101 NE MAIN ST,
                    EASLEY SC 29640


                    THERMO FISHER FINANCIAL SERVICES INC
                    11 OLD EAGLE SCHOOL ROAD
                    WAYNE PA 19087


                    TIS INTERNATIONAL USA INC
                    PO BOX 7109
                    SAN FRANCISCO CA 94120


                    TOP FLIGHT STAFFING
                    PO BOX 51135
                    PIEDMONT SC 29673
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                    TOX CREW INC
                    9111 CROSS PARK DR
                    KNOXVILLE TN 37923


                    TRANSLATIONAL SOFTWARE
                    7683 S.E. 27TH STREET #352
                    MERCER ISLAND WA 98040


                    TRI COUNTY RENTALS
                    5619 HWY153
                    EASLEY SC 29640


                    TRITON RECOVERY GROUP
                    19790 W. DIXIE HIGHWAY STE 301
                    AVENTURA FL 33180


                    UPS
                    PO BOX 7247-0244
                    PHILADELPHIA PA 19170


                    US BANK EQUIPMENT FINANCE
                    PO BOX 790448
                    SAINT LOUIS MO 63179


                    VESSEL MEDICAL, INC.
                    6000A PELHAM ROAD
                    GREENVILLE SC 29615


                    VESSELL MEDICAL
                    6000 A PELHAM ROAD
                    GREENVILLE SC 29615


                    VOX FUNDING SPV1, LLC
                    14 E 44TH ST 4TH FLOOR
                    NEW YORK NY 10017


                    VWR INTERNTIONAL
                    PO BOX 640169
                    PITTSBURGH PA 15264


                    WELLS FARGO FINACE LEASING, INC.
                    PO BOX 77096
                    MINNEAPOLIS MN 55480
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                    WOODWARD & BUTLER
                    PO BOX 1906
                    WALTERBORO SC 29488


                    YOURGENE HEALTH
                    1680 MICHIGAN AVE
                    MIAMI BEACH FL 33139


                    ZEPTO METRIX/ANTYLIA
                    14957 COLLECTION CENTER DR
                    CHICAGO IL 60693


                    ZERION GROUP
                    PO BOX 940411
                    MAITLAND FL 32794
